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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

 PEN AMERICAN CENTER, INC.,
 et al.,

           Plaintiffs,

 v.                                                   Case No. 3:23cv10385-TKW-ZCB

 ESCAMBIA COUNTY SCHOOL
 BOARD,

      Defendant.
_________________________________/

                            FINAL SCHEDULING ORDER

       Upon due consideration of the amended report of the parties’ Rule 26(f)

conference (Doc. 53), it is ORDERED that the following deadlines and procedures

are established:1

       1. Amending pleadings and joining parties: The deadline proposed by the

             parties for amending the pleadings and joining additional parties (14 days

             after the Court rules on Defendant’s motion to dismiss) is adopted by the

             Court.




       1
          The Court did not adopt all of either party’s proposed deadlines because Plaintiffs’
proposed deadlines were a bit too ambitious given the time it will likely take the Court to rule on
Defendant’s pending motion to dismiss and Defendant’s proposed deadlines would unduly delay
the case.
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2. Rule 26 disclosures:

      (a)    The deadline proposed by the parties for initial disclosures under

   Rule 26(a)(1) is adopted by the Court.

      (b)    The deadlines for expert disclosures under Rule 26(a)(2) are 75

   days before the close of discovery for Plaintiffs, 45 days before the close

   of discovery for Defendants, and 30 days before the close of discovery

   for Plaintiffs’ rebuttal.

      (c)    Supplemental disclosures under Rule 26(e) must be made

   promptly upon discovering the information calling for the supplement, and

   no later than 28 days before the close of discovery.

      (d)    The parties may agree to modify these deadlines without court

   approval pursuant to Local Rule 6.1 so long as the extension does not

   interfere with the time set for completing discovery, submitting or

   responding to a motion, or trial.

3. Discovery:

      (a)    The deadline for fact discovery is May 31, 2024, and the deadline

   for expert discovery is July 15, 2024. The expert discovery deadline is the

   “discovery deadline” for purposes of other deadlines in this Order.




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      (b)    The parties are encouraged to considering limiting/focusing their

   discovery efforts on issues related to Count I pending disposition of

   Defendant’s motion to dismiss.

      (c)    The parties may agree to extend the fact discovery deadline

   without court approval so long as the extension does not impact the overall

   discovery deadline.

      (d)    No extensions of the overall deadline will be granted absent a

   showing of due diligence in attempting to complete discovery by the

   deadline. Any motion to extend the discovery deadline (whether joint or

   unilateral) shall detail the discovery that has been completed, the discovery

   that remains to be done, and provide a firm schedule for completing any

   remaining discovery.

4. Potentially dispositive motions:     The deadline for filing motions for

   summary judgment or other potentially dispositive motions is 21 days after

   the discovery deadline. Responses and replies shall be filed within the

   times provided in Local Rule 56.1 and shall also comply with the

   requirements set forth in the Initial Scheduling Order.

5. Daubert motions: The deadline for filing Daubert motions is 21 days after

   the discovery deadline. Responses shall be filed within the time provided

   in Local Rule 7.1. Replies are not permitted.


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       6. Trial: To be set later.2 The Court will schedule a case management

           conference to set the trial date after ruling on the motions for summary

           judgment or other potentially dispositive motions or upon receiving notice

           that no such motions have been filed and the case is ready to be set for trial.

           This ensures that the Court will have all the time it needs to rule on the

           motions and prevents the parties from having to spend additional time,

           effort, and money preparing for trial until the motions have been decided

           and it is known what issues, if any, remain for trial. This also allows the

           Court to give the parties a firm trial date, rather than a spot within a trial

           period. Typically, the trial date will be within 2 to 3 months of the date

           the Court rules on the motions.

       7. Pretrial conference and related deadlines: A Pre-Trial Order will be

           entered when the case is set for trial establishing the date for the pretrial

           conference (typically 2 to 3 weeks before the trial date) and the deadline

           for the attorney conference leading to the filing of a pretrial stipulation and

           related papers. The deadline established for the attorney conference will




       2
           The parties disagree about the expected length of the trial, with Plaintiffs suggesting 5
days and Defendant’s suggesting 10 days. That issue will be determined at a later point, but
Defendant is going to have a hard time convincing the Court that it should devote anything more
than 5 trial days to this case.

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           be the deadline for disclosures under Rule 26(a)(3), with any objections to

           be filed within 7 days thereafter.

       8. Motions in limine. Motions in limine and other pretrial motions shall be

           filed no later than 14 days prior to the pretrial conference, with a response

           to the motion filed no later than 7 days thereafter, to allow consideration

           of the motion at or prior to the pretrial conference.

       9. Mediation: The parties shall mediate this case in accordance with the

           procedures set forth in the Appendix to this Order. The deadline for

           completing mediation is 14 days after the discovery deadline, but the

           parties are encouraged to mediate sooner than that and they are expected

           to make good faith efforts to resolve this case—early and often.3




       3
           The Court is confident that with the number and quality of lawyers involved in this case
the parties can come up with an amicable resolution that balances (a) the School Board’s
obligations under state law to have a procedures in place to review the content of library books
and its legitimate interest in not making pornographic or otherwise grade-level inappropriate books
available to students in school/classroom libraries with (b) the book author/publisher plaintiffs’
understandable desire not to have their books black-listed solely for political reasons. The sooner
that can happen, the better (and cheaper) for all concerned. To that end, although it is hard for the
Court to understand how a school is constitutionally obligated to keep a potentially-inappropriate
book on its library shelves simply because some parent or student wants the book to be there, it
seems to the Court that the decision to remove or keep library books should be made by
professional educators who have the expertise to assess the literary value and grade-level
appropriateness of the books, and not politicians, federal judges, or individual
citizens/parents/students who for their own personal reasons want a book removed from or kept in
the library. That said, the Court will of course keep an open mind on all of the factual and legal
issues in this case as it moves forward.

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10. Other matters:

      (a)     The parties’ report will control the matters it addresses, except to

   the extent of any conflict with this Order. On matters not addressed in this

   Order or the parties’ report, the Initial Scheduling Order remains in effect.

      (b)     Deadlines will be determined based on this Order (and the

   parties’ report as adopted by this Order), other applicable orders, and the

   governing rules. Docket entries made by the clerk of the court are for the

   clerk’s internal use and are not controlling.

      (c)     The attorneys are expected to comply with the standards of

   professionalism in the American College of Trial Lawyers Code of Pretrial

   and Trial Conduct, which is available at the “attorneys” tab on the court’s

   website.

DONE and ORDERED this 5th day of October, 2023.




                                  __________________________________
                                  T. KENT WETHERELL, II
                                  UNITED STATES DISTRICT JUDGE




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                                  Appendix

   The following procedures will govern mediation in this case:
      1. If the parties are unable to agree upon a mediator, they shall file a
motion with the Court at least 60 days prior to the mediation deadline explaining
why they have been unable to agree and providing separate lists of at least 3
mediators each party would agree to (and any that they would object to) and the
Court will designate the mediator from the lists.

      2. Unless otherwise agreed, the fee of the mediator must be paid equally
by the parties: 50% Plaintiff(s) and 50% Defendant(s). The fee must be paid in
the manner determined by the mediator.

      3. The following persons must attend the mediation conference unless
excused in advance on a motion showing good cause:

      a. The attorney of record primarily responsible for the conduct of this case
         on behalf of a party.

      b. Each party. A corporation, other private organization, or state or local
         governmental entity or officer in his or her official capacity must attend
         through a representative having full authority to settle the entire case
         for the party without further consultation. The mediator may waive the
         requirement that the attending representative’s full authority to settle be
         “without further consultation.” Unless the mediator directs otherwise,
         the parties by agreement also may waive the requirement that the
         attending representative’s full authority to settle be “without further
         consultation.” Unless otherwise ordered, an Assistant United States
         Attorney may attend for the government.

      c. If a party is insured, a representative of the insurer having full authority
         to settle without further consultation. The mediator may waive the
         requirement that the insurer’s representative’s full authority to settle be
         “without further consultation.” Unless the mediator directs otherwise,
         the parties by agreement also may waive the requirement that the
         attending insurer’s representative’s full authority to settle be “without
         further consultation.”




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      4. A person’s failure to attend the mediation conference as required
ordinarily will result in the imposition of sanctions.

       5. The parties must confer in advance on the submission of written
materials to the mediator and must proceed in accordance with any agreement
they reach or the instructions of the mediator. In the absence of an agreement or
instructions, no written submissions are required, but either party may submit
materials, which the mediator may consider as the mediator deems appropriate.

      6. The mediator may control the procedures to be followed in mediation,
may adjourn the mediation conference and set a time for reconvening, and may
suspend or terminate mediation whenever the mediator believes further
mediation is not likely to lead to a settlement.

       7. Everything said during mediation—other than the terms of any
settlement agreement itself—will be off the record and inadmissible as settlement
negotiations. Mediation proceedings—other than any settlement agreement
itself—must not be recorded electronically or by a court reporter.

      8. The referral of this case to mediation does not extend any deadline.

       9. Any partial or complete settlement must immediately be reduced to
writing in the presence of the mediator and must be signed by each party and an
attorney for each party.

       10. The mediator or a party must file a report within 7 days after mediation
ends indicating when mediation was conducted and the outcome (that is, whether
the case was settled or impasse was declared). If the case is settled in full, notice
to the court must be immediate.

       11. An attorney for each party must, within 14 days of the date of this
order, consult with the party about the advantages (including savings of costs and
attorney’s fees) and disadvantages of proceeding with mediation immediately
rather than awaiting the deadlines set in this order. On a party’s motion, the court
will consider ordering that mediation commence immediately or at a time earlier
than required by this order.




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